                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF VIRGINIA
                                 ROANOKE DIVISION

WILLIE HENDERSON,                                    )
INDIVIDUALLY AND ON BEHALF OF                        )
ALL OTHERS SIMILARLY SITUATED,                       )
                                                     )
       Plaintiff,                                    )
                                                     )
v.                                                   )       Civil Action No. 7:17-cv-00292
                                                     )
GENERAL REVENUE CORPORATION,                         )
                                                     )
And                                                  )
                                                     )
PIONEER CREDIT RECOVERY, INC.                        )
                                                     )
       Defendants.                                   )
                                                     )

                                APPEARANCE OF COUNSEL

       To: The Clerk of Court and all parties of record

       I am admitted or otherwise authorized to practice in this Court, and I appear in this case

as counsel for Willie Henderson, Individually and on behalf of all others similarly situated.

                                                     Respectfully submitted,

                                                      /s/ Daniel J. Martin

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                                CERTIFICATE OF SERVICE

       I hereby certify that on February 6th, 2019, I electronically filed the foregoing with the

Clerk of Court using the CM/ECF system, which will send a notification of such filing to the

following counsel for defendants:

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